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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:09CR3069-2
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
KELVIN L. STINSON,                          )
                                            )
                    Defendant.              )


       IT IS ORDERED that Defendant Stinson’s evidentiary hearing and sentencing are
scheduled on Friday, July 16, 2010, from 12:00 to 1:30 p.m., before the undersigned United
States district judge, in Courtroom No. 1, United States Courthouse and Federal Building,
100 Centennial Mall North, Lincoln, Nebraska. The defendant shall be present unless
excused by the court.

      Dated May 19, 2010.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
